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 8
                                   IN THE UNITED STATES DISTRICT COURT
 9
                                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                              CASE NO. 2:13-CR-354-2 MCE

12                                  Plaintiff,              ORDER SEALING DOCUMENTS AS SET FORTH
                                                            IN GOVERNMENT’S NOTICE
13                            v.

14   HUSSAIN SHAHZAD

15                                  Defendant.

16
17           Pursuant to Local Rule 141(b) and based upon the representation contained in the Government’s
18 Request to Seal, IT IS HEREBY ORDERED that the Government’s three-page filing and Request to
19 Seal shall be SEALED until further order of this Court. It is further ordered that access to the sealed
20 documents shall be limited to the Government and counsel for the parties.

21           The Court has considered the factors set forth in Oregonian Publishing Co. v. U.S. District Court for

22 the District of Oregon, 920 F.2d 1462 (9th Cir. 1990). The Court finds that, for the reasons stated in the
23 Government’s request, sealing the Government’s motion pursuant to U.S.S.G § 5K1.1 serves a compelling
24 interest. The Court further finds that, in the absence of closure, the compelling interests identified by the
25 Government would be harmed.
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       ORDER SEALING DOCUMENTS AS SET FORTH IN              1
       GOVERNMENT’S NOTICE
              Case 2:13-cr-00354-MCE Document 117 Filed 12/05/16 Page 2 of 2


 1 In light of the public filing of its request to seal, the Court further finds that there are no additional
 2 alternatives to sealing the Government’s motion pursuant to U.S.S.G § 5K1.1 that would adequately protect
 3 the compelling interests identified by the Government.
 4           IT IS SO ORDERED.

 5 Dated: December 2, 2016
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       ORDER SEALING DOCUMENTS AS SET FORTH IN                2
       GOVERNMENT’S NOTICE
